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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

RAFAEL ZAYAS,                     :
          Petitioner,             :
                                  :     Crim. No. 3:98CR179 (AHN)
v.                                :     Civ. No. 3:02CV609 (AHN)
                                  :
UNITED STATES OF AMERICA,         :
          Respondent.             :


           RULING ON PETITION FOR WRIT OF HABEAS CORPUS
                   PURSUANT TO 28 U.S.C. § 2255

     Petitioner Rafael Zayas (“Zayas”) seeks a writ of habeas

corpus pursuant to 28 U.S.C. § 2255, requesting that his December

30, 1998, conviction be vacated, set aside, and/or corrected.

Zayas pleaded guilty to conspiracy to possess with intent to

distribute and distribution of cocaine and crack cocaine, in

violation of Title 21 U.S.C. §§ 846 & 841(a)(1).              He was

sentenced to 199 months imprisonment and 5 years supervised

release.   He now challenges his sentence on the basis of Apprendi

v. New Jersey, 530 U.S. 466 (2000), sentencing errors, and

ineffective assistance of counsel.       As set forth below, his

petition [dkt. # 596] is denied.

                                BACKGROUND

     Zayas was a member of a narcotics trafficking organization

that supplied cocaine and crack cocaine to distributors in

Bridgeport, Connecticut.      On October 8, 1998, Zayas was indicted

in connection with those activities.         On December 30, 1998, he
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pleaded guilty to one count of conspiracy to possess with intent

to distribute and distribution of an unspecified quantity of

cocaine and crack cocaine in violation of 21 U.S.C. §§ 841(a)(1)

& 846.   The plea agreement stated that the “offense carries a

maximum penalty of lifetime imprisonment and a $4,000,000 fine

and a mandatory minimum penalty of ten (10) years imprisonment

. . . [and] a term of supervised release of at least five (5)

years and as much as life.”     At sentencing, held on April, 7,

2000, the court found that Zayas’s offense involved between 500

and 1,500 grams of crack cocaine, that he possessed a firearm,

and that he acted as a manager/supervisor in connection with his

offense.    The court sentenced Zayas to 199 months imprisonment

and 5 years supervised release.

     On September 6, 2001, the Second Circuit affirmed Zayas’s

sentence.    See United States v. Zayas, 18 Fed.Appx. 46 (2d Cir.

2001).   Because he did not file a petition for certiorari, his

conviction became final 90 days later on December 5, 2001.             See

Clay v. United States, 537 U.S. 522, 525 & 527 (2003) (conviction

becomes final, inter alia, when time for filing certiorari

petition expires); Sup. Ct. R. 13(1) (certiorari petition must be

filed within 90 days after entry of judgment).

                               DISCUSSION

     Zayas now seeks collateral relief pursuant to § 2255 on the

ground that: (1) his sentence violates the rule in Apprendi;



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(2) the court did not make a factual finding regarding the

quantity of narcotics attributable to him; and (3) he received

ineffective assistance of counsel at sentencing.               The government

submits that Zayas’s petition should be denied.            The court

agrees.

I.   Apprendi

     Zayas claims that his sentence violates Apprendi because

neither the indictment nor the plea agreement stipulated drug

quantity.   Under Apprendi, any fact, other than a prior

conviction, that increases a penalty beyond the proscribed

statutory maximum must be submitted to a jury and proven beyond a

reasonable doubt.1    See United States v. Luciano, 311 F.3d 146,

149-50 (2d Cir. 2002).        However, “[e]ven if . . . not charged in

the indictment or found by the jury, . . . drug . . . quantity

may be used to determine the appropriate sentence so long as the

sentence imposed is not greater than the maximum penalty

authorized by statute for the offense charged in the indictment

and found by a jury.”     Id. at 150 (quoting United States v.

Thomas, 274 F.3d 655 (2d Cir. 2001)).

     In this case, Zayas pleaded guilty to conspiracy to possess

with intent to distribute and distribution of an unspecified



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      For purposes of this ruling, the court applies Apprendi
and its progeny as understood at the time Zayas’s conviction
became final, and disregards the change in sentencing law
effected by United States v. Booker, 125 S.Ct. 738 (2005).


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quantity of cocaine and crack cocaine, in violation of

§§ 841(a)(1) and 846.      At sentencing, the court found, by a

preponderance of the evidence, that Zayas’s violation involved

between 500 and 1,500 grams of crack cocaine.           Under § 841(b),

such an offense carries a maximum statutory penalty of lifetime

imprisonment.     See 21 U.S.C. § 841(b)(1)(A) (“In the case of a

violation . . . involving . . . 50 grams or more of a mixture or

substance . . . which contains cocaine base . . . such person

shall be sentenced to a term of imprisonment which may not be

less than 10 years or more than life”).         Because the 199-month

sentence that Zayas received does not exceed the statutory

maximum of lifetime imprisonment, no violation under Apprendi

occurred.    See Thomas, 274 F.3d at 664 (“Apprendi does not apply

where the sentence imposed is not greater than the prescribed

statutory maximum”).      See also United States v. Harris, 536 U.S.

545, 565 (2002) (holding that facts which increase the applicable

mandatory minimum penalty can be treated as “sentencing factors”

and do not require submission to a jury or proof beyond a

reasonable doubt).      Therefore, Zayas’s petition is denied on this

basis.

II.   Sentencing Error

      Zayas also claims that he is entitled to habeas relief

because the court erred at sentencing by failing to find the

amount of narcotics attributable to him.          He did not raise this



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claim on direct appeal.      It is well-settled that the failure to

raise a claim on direct appeal bars consideration of that claim

in a habeas petition unless a petitioner can establish both

“cause” for his procedural default and “prejudice” resulting

therefrom.   See e.g., Campino v. United States, 968 F.2d 187, 190

(2d Cir. 1992).   Because Zayas has not alleged, much less

demonstrated, both cause and prejudice with regard to this claim,

his habeas petition is denied on this basis as well.

     Nevertheless, Zayas’s claim fails even on the merits because

the record indicates that, at sentencing, the court found, based

on the preponderance of the evidence, that Zayas’s offense

involved between 500 and 1,500 grams of crack cocaine.             See

United States v. Kim, 193 F.3d 567, 575 (2d Cir. 1999) (“disputed

facts relevant to sentencing need be proven only by a

preponderance of the evidence”); see also United States v.

Gonzalez, 407 F.3d 118, 125 (2d Cir. 2005) (stating that district

court’s discretion to resolve disputed facts by the preponderance

of the evidence endures post-Booker) (citing United States v.

Crosby, 397 F.3d 103, 112 (2d Cir. 2005)).

III. Ineffective Assistance of Counsel

     Finally, Zayas claims that he did not receive effective

assistance of counsel because, at sentencing, counsel failed to

move for a downward departure based on his minor role in the

narcotics trafficking organization.         Under Strickland v.



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Washington, 466 U.S. 668, 687 (1984), a habeas petitioner

claiming ineffective assistance of counsel must make a two-part

showing.   First, the petitioner must demonstrate that counsel’s

performance was deficient -- that is, errors were made of such

serious magnitude that petitioner was deprived of the counsel

guaranteed by the Sixth Amendment.      See id.     Second, the

petitioner must show that there is a reasonable probability that,

but for counsel’s deficient performance, the result would have

been different.   See id. at 694.

     In this case, Zayas’s ineffective assistance claim fails

because it is factually flawed.      Contrary to Zayas’s allegations,

the sentencing transcript shows that counsel did argue that Zayas

was neither a manager nor a supervisor in the organization.

Counsel first addressed the issue in a letter written to the

court in anticipation of sentencing, stating that Zayas had been

“a heroin junkie for a long period of time, and not a trusted

lieutenant.”   Moreover, at the sentencing hearing, counsel argued

that Zayas was nothing more than “a regular role player” in the

conspiracy.    The court, however, rejected counsel’s argument and

reasoned, in part, that Zayas could have been “a trusted

lieutenant and . . . a heroin junkie [because the two were not]

. . . mutually exclusive.”     See Dkt. # 552 at 31.         Because

Zayas’s ineffective assistance claim is belied by the record, his

petition for habeas relief must be denied on this basis as well.



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                               CONCLUSION

     For the foregoing reasons, Zayas’s petition for a writ of

habeas corpus [dkt. # 596] is DENIED.       Because Zayas fails to

make a substantial showing of the denial of a constitutional

right, a certificate of appealability shall not issue.            See 28

U.S.C. § 2253(a)(2).

     So ordered this ___ day of August, 2005, at Bridgeport,

Connecticut.




                                 Alan H. Nevas
                                 United States District Judge




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